Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.241 Page 1 of 53




  1

  2

  3

  4

  5

  6

  7

  8




                           Exhibit 3
  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.242 Page 2 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.243 Page 3 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.244 Page 4 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.245 Page 5 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.246 Page 6 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.247 Page 7 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.248 Page 8 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.249 Page 9 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.250 Page 10 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.251 Page 11 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.252 Page 12 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.253 Page 13 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.254 Page 14 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.255 Page 15 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.256 Page 16 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.257 Page 17 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.258 Page 18 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.259 Page 19 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.260 Page 20 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.261 Page 21 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.262 Page 22 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.263 Page 23 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.264 Page 24 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.265 Page 25 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.266 Page 26 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.267 Page 27 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.268 Page 28 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.269 Page 29 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.270 Page 30 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.271 Page 31 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.272 Page 32 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.273 Page 33 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.274 Page 34 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.275 Page 35 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.276 Page 36 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.277 Page 37 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.278 Page 38 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.279 Page 39 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.280 Page 40 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.281 Page 41 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.282 Page 42 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.283 Page 43 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.284 Page 44 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.285 Page 45 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.286 Page 46 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.287 Page 47 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.288 Page 48 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.289 Page 49 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.290 Page 50 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.291 Page 51 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.292 Page 52 of 53
Case 1:23-cv-03027-MKD   ECF No. 14-4   filed 04/05/23   PageID.293 Page 53 of 53
